AO 440 (Rev. 06/12) Summons tn a Civil Action

UNITED STATES DISTRICT COURT

for the

Eastern District of Texas

 

Hawkins, Patricia

 

Plaintiff(s)
vV.
UHS of Texoma, Inc. d/b/a Texoma Medical Center

Civil Action No. 4:21cv265

 

 

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Defendant(s)

SUMMONS IN A CIVIL ACTION

UHS of Texoma, Inc. d/b/a Texoma Medical Center

c/o Corporation Service Company d/b/a CSC-Lawyers Incorporating Service Company,
registered agent

211E. 7th Street, Suite 620
Austin, Texas 78701-3136

To: (Defendant’s name and address)

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.

P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:

Ronald R. Huff

Law Office of Ronald R. Huff
112 S. Crockett Street
Sherman, Texas 75090

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Date: 3/31/21 © Wau A, Of ook

 

 

Signature of Clerk or Deputy Clerk

 
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Civil. Action No. 4:21cv265

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (U)

 

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[J I personally served the summons on the individual at (place)

 

On (date) , or

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© | left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

 

on (date) , and mailed a copy to the individual’s last known address; or

[3 { served the summons on (name of individual) . who is

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designated by law to accept service of process on behalf of (name of organization)

 

on (date) ; Or

 

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PS Form 3800, Apri! 2015 PSN 7530-02-000-9047 |
